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 6
                            IN THE UNITED STATES DISTRICT COURT
 7                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 8
                                                          IN ADMIRALTY
 9
     HMM CO. LTD.,                                        CASE NO.: 21-1561 MJP
10
                                  Plaintiff,
11                                                       ORDER AUTHORIZING
            v.
                                                         ISSUANCE OF PROCESS OF
12                                                       MARITIME ATTACHMENT AND
     LOUIS DREYFUS CO. FREIGHT ASIA PTE.
     LTD.,                                               GARNISHMENT
13

14                                Defendant.

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16          Having reviewed and considered the Motion for Issuance of Process of Maritime

17   Attachment and Garnishment of Plaintiff, HMM CO., LTD., and Plaintiff’s Verified

18   Complaint, together with the Attorney Declaration that Defendant cannot be found in the

19   District, and finding that the conditions of Rule B of the Supplemental Rules for Certain

20   Admiralty and Maritime Claims of the Federal Rules of Civil Procedure appear to exist,

21   the Court hereby:

22          ORDERS the Clerk to issue Process of Maritime Attachment and Garnishment as

23   prayed for in the Verified Complaint against all property, tangible or intangible, belonging to

24   Defendant LOUIS DREYFUS CO. FREIGHT ASIA PTE. LTD., to wit: bunkers onboard the

25   M/V NIKOLAS XL (IMO: 9311165), which is currently located within the Western District of

26   Washington, in an amount up to USD 3,000,0000 pursuant to Supplemental Rule B; and



                                                                              LAW OFFICES OF
                                                                       NICOLL BLACK & FEIG
     ORDER AUTHORIZING ISSUANCE                                   A PROFESSIONAL LIMITED LIABILITY COMPANY
     OF PROCESS OF MARITIME ATTACHMENT                                  1325 FOURTH AVENUE, SUITE 1650
                                                                          SEATTLE, WASHINGTON 98101
     AND GARNISHMENT - 1                                                      TEL: 206-838-7555
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 1          ORDERS that the Clerk of the Court shall issue further, supplementary writs of

 2   maritime attachment and garnishment, on request of the Plaintiff and without further Order of

 3   the Court; and

 4          ORDERS that the United States Marshal and/or any Substitute Custodian, which is

 5   subsequently appointed by this Court, is authorized to allow the M/V NIKOLAS XL to

 6   conduct normal cargo operations, both discharging and loading, repair works, and to shift

 7   berths (consistent with the U.S. Marshal’s requirements), always remaining within this judicial

 8   district, and always at the risk and expense of the vessel’s interests; and

 9          ORDERS that a copy of this Order be attached to and served with the said Process of

10   Maritime Attachment and Garnishment.

11          ORDERS that the U.S. Marshal is released and held harmless for any and all costs,

12   fees, liabilities, or other expenses in any way arising out of the attachment of the

13   M/V NIKOLAS XL; and

14          ORDERS that the charges and expenses incurred by the U.S. Marshal shall be deemed

15   in custodia legis, and will be paid from the proceeds of the vessel’s sale unless otherwise

16   agreed. If a written objection is timely filed, payment of the disputed charges only shall be

17   made after the objection is resolved by agreement of the parties or by Court Order. Payment of

18   the undisputed charges shall not be affected; and

19          ORDERS that any property of the Defendant, specifically the bunkers on board the

20   M/V NIKOLAS XL, may be released from attachment without further order of this Court,

21   if the U.S. Marshal receives written authorization to do so from the attorney who requested the

22   attachment and garnishment, stating that he has conferred with all attorneys representing

23   parties to the litigation, and they consent to the request for the release, and also provided that

24   the Court has not entered any subsequent orders modifying this arrangement for the release of

25   the property which was attached pursuant to this Order; and Plaintiff shall hold harmless and

26   indemnify the United States of America, the United States Marshal, their agents, servants,


                                                                                   LAW OFFICES OF
                                                                          NICOLL BLACK & FEIG
     ORDER AUTHORIZING ISSUANCE                                      A PROFESSIONAL LIMITED LIABILITY COMPANY
     OF PROCESS OF MARITIME ATTACHMENT                                     1325 FOURTH AVENUE, SUITE 1650
                                                                             SEATTLE, WASHINGTON 98101
     AND GARNISHMENT - 2                                                         TEL: 206-838-7555
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 1   employees, from any and all claims arising from the attachment and release of the vessel as is

 2   herein specifically provided; and

 3          ORDERS that any person claiming an interest in the property attached or garnished

 4   pursuant to order upon application of the Court, be entitled to a prompt hearing in which

 5   Plaintiff shall be required to show why the attachment or garnishment should not be vacated or

 6   other relief granted;

 7          SIGNED at Seattle, Washington this 19th day of November 2021.

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                                                        Marsha J. Pechman
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                                                        United States Senior District Judge
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                                                                             LAW OFFICES OF
                                                                      NICOLL BLACK & FEIG
     ORDER AUTHORIZING ISSUANCE                                  A PROFESSIONAL LIMITED LIABILITY COMPANY
     OF PROCESS OF MARITIME ATTACHMENT                                 1325 FOURTH AVENUE, SUITE 1650
                                                                         SEATTLE, WASHINGTON 98101
     AND GARNISHMENT - 3                                                     TEL: 206-838-7555
